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   Attorneys for Plaintiffs Skot Heckman,
12 Luis Ponce, Jeanene Popp, and Jacob
   Roberts, on behalf of themselves and all
13 those similarly situated
14
15                      UNITED STATES DISTRICT COURT
16         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17 Skot Heckman, Luis Ponce, Jeanene          CASE NO. 2:22-cv-00047-GW-GJ
   Popp, and Jacob Roberts, on behalf of
18 themselves and all those similarly         JOINT STIPULATION SETTING
   situated,                                  MODIFIED BRIEFING SCHEDULE
19                                            AND HEARING DATE
               Plaintiffs,
20                                            [Local Rule 7-1]
          v.
21                                            Assigned to: Honorable George H. Wu
   Live Nation Entertainment, Inc., and
22 Ticketmaster LLC,
23              Defendants.
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                                                            CASE NO. 2:22-CV-00047-GW-GJS
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           Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob Roberts
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     (together, “Plaintiffs”) and Defendants Ticketmaster L.L.C. and Live Nation
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     Entertainment, Inc. (together, “Defendants”) hereby stipulate and agree, subject to
 4
     the approval of the Court, to the following modification of the hearing schedule, and
 5
     a corresponding modification to the briefing schedule.
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           In support of this joint stipulation, the parties state as follows:
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           1.     On March 8, 2022, Defendants filed a Motion to Compel Arbitration,
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                  ECF No. 30, which has now been fully briefed.
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           2.     A hearing on that Motion was held before this Court on May 1, 2023.
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           3.     At the hearing, the Court requested supplemental briefing, with each
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                  side to submit an initial brief on May 22 and a response on June 8, for
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                  a hearing to be held June 22.
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           4.     After scheduling conflicts with that date recently became apparent, the
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                  parties conferred and came to an agreement to request that the second
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                  hearing on Defendants’ Motion to Compel Arbitration be held on July
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                  13, 2023 at 8:30 a.m.
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           5.     In light of their agreement to request a different hearing date, the parties
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                  also agreed to request a corresponding adjustment to the briefing
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                  schedule as follows.
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                  a.    Both sides shall file their initial supplemental brief on or before
21
                        June 2, 2023.
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                  b.    Both sides shall file replies on June 19, 2023.
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           The parties therefore agree and stipulate to the above dates.
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           [Signatures on following page]
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                                                                   CASE NO. 2:22-CV-00047-GW-GJS
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     Dated: May 17, 2023   Respectfully submitted,
 3
                           LATHAM & WATKINS LLP
 4
 5                         By: /s/ Timothy L. O’Mara
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11                               L.L.C. and Live Nation Entertainment,
                                 Inc.
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13                               QUINN EMANUEL URQUHART &
                                 SULLIVAN, LLP
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                           By: /s/ Kevin Y. Teruya
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19                               Attorneys for Plaintiffs Skot Heckman,
                                 Luis Ponce, Jeanene Popp, and Jacob
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                                 Roberts, on behalf of themselves and all
21                               those similarly situated
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                                                CASE NO. 2:22-CV-00047-GW-GJS
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 1
                                       ATTESTATION
 2
           I am the ECF user whose identification and password are being used to file
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     the foregoing Joint Stipulation Setting Modified Briefing Schedule and Hearing
 4
     Date. Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, William R. Sears, attest that
 5
     all other signatories listed, and on whose behalf the filing is submitted, concur in this
 6
     filing’s content and have authorized such filing.
 7
 8
           Dated: May 17, 2023                             /s/ William R. Sears
 9                                                             William R. Sears
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